                   Exhibit 6




Case 1:25-cv-00303-CCE-JLW   Document 5-6   Filed 05/05/25   Page 1 of 3
Case 2:25-cv-10946-MAG-EAS ECF No. 26, PageID.315 Filed 04/22/25 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

JANE DOE 1 et al.,

                 Plaintiffs,

v.                                                              Case No. 25-cv-10946
                                                                HON. MARK A. GOLDSMITH
THE REGENTS OF THE UNIVERSITY
OF MICHIGAN et al.,

            Defendants.
_________________________________/

                                          ORDER
                               REGARDING STATUS CONFERENCE

          The Court will hold a status conference for this case and all related cases, together called

the Weiss Litigation, 1 the purpose of which will be to discuss case management issues. To

facilitate that discussion, counsel for all parties in the Weiss Litigation must confer about such

issues, no later than April 30, 2025. They must also file on the docket of case number 25-cv-

10806, no later than May 9, 2025, a single joint statement regarding all management issues to be

discussed at the conference for all cases in the Weiss Litigation, noting all points of agreement and

disagreement regarding those issues. If any party has not yet determined its position on an issue,

that point should be noted as well. The joint statement must be signed by at least one attorney for


1
    The Weiss Litigation includes the following cases in this district:

25-10806, Doe 1 et al v. Weiss et al.
25-10855, Doe I et al v. Weiss et al.
25-10870, Roe CLF 001 v. Weiss et al.
25-10876, Doe v. University of Michigan Board of Regents et al.
25-10951, Doe v. Board of Regents of the University of Michigan et al.
25-10946, Doe 1 et al v. The Regents of The University of Michigan et al.
25-10988, Doe v. Weiss et al.
25-10999, Doe v. Board of Regents of the University of Michigan et al.




      Case 1:25-cv-00303-CCE-JLW             Document 5-6        Filed 05/05/25     Page 2 of 3
Case 2:25-cv-10946-MAG-EAS ECF No. 26, PageID.316 Filed 04/22/25 Page 2 of 2




each party to every action in the Weiss Litigation. The conference will be held by Zoom on May

14, 2025 at 9 am. Zoom instructions will be communicated later.

       SO ORDERED.

Dated: April 22, 2025                             s/Mark A. Goldsmith
       Detroit, Michigan                          MARK A. GOLDSMITH
                                                  United States District Judge




                                              2



    Case 1:25-cv-00303-CCE-JLW          Document 5-6       Filed 05/05/25        Page 3 of 3
